
This cause came on to be heard upon the petition of the relator and demurrer of respondent, and was argued by counsel. On consideration whereof it is ordered and adjudged that said demurrer be, and the same hereby is, sustained for the reason that the writ of mandamus is an extraordinary writ which is not available where there is a plain and adequate remedy in the ordinary course of law (State, ex rel. Bassichis, v. Zangerle, County Aud., 126 Ohio St., 118), and that Section 1465-90, General Code, which is now in force and provides for a rehearing, does not apply to appeal from a proceeding which was pending when that statute was amended, such appeal being governed by the *584statute in effect at the time the relator’s original claim was filed, which afforded relator an adequate remedy at law by filing an appeal in the common pleas court within thirty days after a rehearing was refused. (Industrial Commission v. Vail, 110 Ohio St., 304.)
Leave is hereby given to the relator to plead further within thirty days, and if not filed within that time it is ordered and adjudged that the writ of mandamus prayed for be, and the same hereby is, denied.
Decree accordingly.
Weygandt, O. J., Allen, Stephenson, Jones, Matthias, Beyes and Zimmerman, JJ., concur.
